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lN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

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Piaimiff,
V' NO. 03-20400 B
LoGAN YouNG,

Defendant.

 

ORDER DENYING DEFENDANT'S MOTION TO STAY
FORFEITUR_E PROCEEDINGS PENDING APPEAL OR, IN TI-IE ALTER.NATIVE,
TO ALLOW POSTING OF SURETY BOND

 

On June 20, 2005, judgment was entered against the Defendant, Logan Young, adjudicating
him guilty ofviolations of 18 U.S.C. §§ 371, 1952 and 2, as Well as 31 U.S.C. § 5324(a)(3), Young
was further ordered to forfeit the amount of $96,100.00. Before the Court is the Defendant's June
15, 2005 motion, pursuant to Rule 32.2(d) of the Federal Rules of Criminal Procedure, to stay
forfeiture proceedings pending appeal of this matter to the Sixth Circuit Court of Appeals or, in the
alternative, to permit the posting of a surety bond. As the Government has responded to the motion,
it is appropriate for disposition

Rule 32.2(d) provides in pertinent part that "[i]f a defendant appeals from a conviction or an
order of forfeiture, the court may stay the order of forfeiture on terms appropriate to insure that the
property remains available pending appellate review." Fed. R. Crim, P. 32.2(d). Factors to be
considered in determining the appropriateness of staying a forfeiture order include: "(1) the
likelihood of success on appeal"; "(2) Whether the forfeited asset Will likely depreciate over time";

"(3) the forfeited asset's intrinsic value to the Defendant (the availability of substitutes)"; "and (4)

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the expense of maintaining the forfeited property." United States v. Riedl, 214 F.Supp.Zd 107'9,
1082 (D. Haw. 2001); see alj United States v. Hronek, No. 5:02-CR-142, 2003 WL 23374653, at
*1 (N.D. Ohio Aug. 4, 2003) (citing M factors). Whether to grant a stay of forfeiture lies within
the discretion of the trial eourt. M, 214 F.Supp.2d at 1082.

ln support of his position, the Defendant argues that he has presented on appeal a non-
frivolous issue as to whether he is in possession of forfeitable assets and that his net worth is far
beyond the amount of the forfeiturel With respect to the first factor, it is the "likelihood of success
on appeal" that tips the scale in favor of a defendant, not the mere fact that he has filed a non-
frivolous appeal The Court, in an order entered June 9, 2005, denied Young's post-judgment
motion for, among other things, relief from the jury's special verdict finding forfeiture warranted
Specifically, the Court disagreed with the Defendant‘s contention that he was not in possession of
forfeitable assets. Based on the Court's decision, it cannot find at this juncture that the first factor
weighs in his favor.

The second factor also favors the Government, as the forfeitable assets, which are in the form
of cash, will not depreciate during the pendency of Young's appeal. So does the third factor. There
is no suggestion here that the cash to be forfeited has any unique or special intrinsic value. §
_l§:_gll, 214 F.Supp.2d at 1082-83 (forfeited properties Which were commercial rental locations lacked
special intangible value and, therefore, did not support the granting Of a Stay); United States V.
§g§h_n_er, 741 F.Supp. 221, 222 (S.D. Fla. 1990) (noting that private residences and unique real
property weigh in favor of the stay). Finally, the fourth factor does not support a stay, since there
is no indication of any expense to be incurred by the Defendant for maintaining the forfeited property

in his bank account.

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As the relevant factors weigh in favor of the Government, the Court finds no basis for a stay
of the forfeiture proceedings in this matter. Accordingly, the motion therefor is DENIED. Based
on the Court's ruling, the Defendant's alternative request for permission to post a surety bond through

a surety company in order to secure the forfeiture amount pending appeal is moot.

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DA IEL BREEN
UNIT D STATES DISTRICT JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 205 in
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